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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Richard Kroll
                                     Plaintiff,
v.                                                   Case No.: 1:23−cv−04701
                                                     Honorable Harry D. Leinenweber
Christopher Liakopoulos, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 5, 2023:


        MINUTE entry before the Honorable Harry D. Leinenweber: Unopposed motion
for extension of time to answer [26] is granted. Telephone Conference set for 10/31/23 is
re−set to 11/29/23 at 9:00 a.m. Joint status report shall be filed by 11/21/23. Dial:
888−684−8852 or 215−446−0155, access code: 9582710#. Persons granted remote access
to proceedings are reminded of the general prohibition against photographing, recording,
and rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions, including removal of court issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court. Mailed notice (maf)




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